      Case 2:11-cr-00458-GEB Document 28 Filed 02/16/12 Page 1 of 4


 1   BLACKMON & ASSOCIATES
     CLYDE M. BLACKMON (SBN 36280)
 2   THOMAS M. GARBERSON (SBN 269158)
     JONATHAN C. TURNER of Counsel (SBN 191540)
 3   660 ‘J’ Street, Suite 390
     Sacramento, CA 95814
 4   Telephone: (916) 441-0824
     Facsimile: (916) 441-0970
 5
     Attorneys for Defendant,
 6   BUENA MARSHALL
 7
                 IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                        EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                  Case No.: 2: 11-CR-0458 GEB
11
                Plaintiff,
12                                              STIPULATION AND [PROPOSED]
          vs.                                   ORDER CONTINUING STATUS
13                                              CONFERENCE AND EXCLUDING TIME
     TEMIKA REED,
14                                              Date:   February 17, 2012
     BUENA MARSHALL,
                                                Time:   9:00 A.M.
15   JAKE WEATHERS,                             Ctrm:   10 (GEB)
     DEBORAH LOUDERMILK,
16   REGINALD DODSON, SR.,
     KADESTA HARRIS,
17
18              Defendants.

19
20        IT IS HEREBY STIPULATED by Temika Reed, through her counsel

21   Timothy Warriner, Buena Marshall, through her counsel Clyde M.

22   Blackmon, Jake Weathers, through his counsel Hayes H. Gable,

23   III, Deborah Loudermilk, through her counsel James T. Reilly,

24   Reginald Dodson, Sr., through his counsel Steven D. Bauer,

25   Kadesta Harris, through her counsel J. Toney, and the United

26   States of America through its counsel Assistant U.S. Attorney

27
28

                                        - 1 –
                       STIPULATION AND [PROPOSED] ORDER CONTINUING
                           STATUS CONFERENCE AND EXCLUDING TIME
      Case 2:11-cr-00458-GEB Document 28 Filed 02/16/12 Page 2 of 4


 1   Russell Carlberg, that the status conference now set for
 2   February 17, 2012, may be continued to April 6, 2012.
 3           A continuance of the status conference is necessary to
 4   allow counsel more time in which to prepare.          The Indictment in
 5   this matter was filed on October 27, 2011, and the parties have
 6   appeared before this Court one time previously, on December 2,
 7   2011.    The government has provided the defense with over 10,000
 8   pages of discovery.     Defense counsel requires more time in which
 9   to review the discovery and to conduct investigation of various
10   issues pertaining to the defense of their clients.               In addition,
11   Steven D. Bauer, counsel for Mr. Dodson, is ill and is in the
12   hospital at the UC Davis Medical Center.          It is necessary to
13   continue the status conference in order to give Mr. Bauer time
14   to recover from his illness or to determine whether he will be
15   able to continue with the representation Mr. Dodson.              Therefore,
16   the parties stipulate that the status conference now set for
17   9:00 a.m. on February 17, 2012, may be continued to April 6,
18   2012, at 9:00 a.m.
19           The parties further stipulate that pursuant to 18 U.S.C. §§
20   3161(h)(7)(B)(ii) and (h)(7)(B)(iv) time should be excluded from
21   February 17, 2012 to April 6, 2012, due to the complexity of the
22   case as evidenced by the amount of discovery and the number of
23   defendants, and to give counsel more time in which to prepare
24   taking into account the exercise of due diligence (Local Codes
25   T2 and T4).    The parties also stipulate that the granting of a
26   continuance of the status conference for the reasons stated
27
28

                                         - 2 –
                        STIPULATION AND [PROPOSED] ORDER CONTINUING
                            STATUS CONFERENCE AND EXCLUDING TIME
      Case 2:11-cr-00458-GEB Document 28 Filed 02/16/12 Page 3 of 4


 1   above will serve the ends of justice and outweighs the best
 2   interests of the public and the defendants in a speedy trial.
 3   IT IS SO STIPULATED.
 4   Dated:   February 15, 2012        ____//s//_________________________
                                       RUSSELL CARLBERG
 5                                     Assistant U. S. Attorney
 6
     Dated:   February 15, 2012        ____//s//_________________________
 7                                     TIMOTHY WARRINER
                                       Attorney for Defendant Temika Reed
 8
 9   Dated:   February 15, 2012        ____//s//_________________________
                                       CLYDE M. BLACKMON
10                                     Attorney for Defendant Buena
                                        Marshall
11
12   Dated:   February 15, 2012        ____//s//_________________________
                                       HAYES H. GABLE,III
13                                     Attorney for Defendant Jake
                                        Weathers
14
15   Dated:   February 15, 2012        ____//s//_________________________
                                       JAMES T. REILLY
16                                     Attorney for Defendant Deborah
                                        Loudermilk
17
18   Dated:   February 15, 2012        ____//s//_________________________
                                       STEVEN D. BAUER
19                                     Attorney for Defendant Reginald
                                        Dodson, Sr.
20
21   Dated:   February 15, 2012        ____//s//_________________________
                                       J. TONEY
22                                     Attorney for Defendant Kadesta
                                        Harris
23
24
25
26
27
28

                                        - 3 –
                       STIPULATION AND [PROPOSED] ORDER CONTINUING
                           STATUS CONFERENCE AND EXCLUDING TIME
                       Case 2:11-cr-00458-GEB Document 28 Filed 02/16/12 Page 4 of 4


 1                                                 [PROPOSED] ORDER
 2                         This matter having come before the Court pursuant to the
 3   stipulation of the parties and good cause appearing therefore,
 4   IT IS ORDERED that the status conference now set for February
 5   17, 2012, at 9:00 a.m. is vacated and the matter is continued
 6   for a status conference on April 6, 2012, at 9:00 a.m.
 7                         Based on the representation of the parties that the case is
 8   complex and that time is required for adequate preparation by
 9   defense counsel , the Court finds that time is excluded from
10   February 17, 2012, to April 6, 2012, pursuant to 18 U.S.C. §§
11   3161(h)(7)(B)(ii) and (h)(7)(B)(iv) (Local Codes T2 and T4) and
12   that the granting of the continuance of the status conference
13   serves the ends of justice and outweighs the best interest5s of
14   the public and the defendants in a speedy trial.
15   IT IS SO ORDERED.
16   Date:                   2/15/2012
17
18                                                                _________________________
                                                                  GARLAND E. BURRELL, JR.
19                                                                United States District Judge
20
     DEAC_Signature-END:




21
22
23   61khh4bb

24
25
26
27
28

                                                          - 4 –
                                         STIPULATION AND [PROPOSED] ORDER CONTINUING
                                             STATUS CONFERENCE AND EXCLUDING TIME
